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      Case 3:22-cv-01349-BJD-LLL
         WfTH AGENCY CLERK       Document 29-1 Filed 05/02/23 Page 1 of 2 PageID 239

              OEL 2 8 2018                         PART B - RESPONSE


                                                      18-6-53961           SUWANNEE C.I                      E31151
             NAME                    NUMBER         GRIEVANCE LOG           CURRENT INMATE LOCATION        HOUSING LOCATION
                                                        NUMBER


Note: This grievance is not accepted as a grievance of an emergency nature.

Your appeal has been reviewed and evaluated. The subject of your grievance was previously referred to the Office of
the Inspector General. It is the responsibility of that office to determine the amount and type of inquiry that will be
conducted. This inquiry/review may or may not include a personal interview with you. Upon completion of this review,
infonmation will be provided to appropriate administrators for final determination and handling.

As this process was initiated prior to the receipt of your appeal, your request for action by this office is denied.

A. Cochran




SIGNATURE ANO TYPED OR PRINTED NAME OF                        SIGNATURE OF WARDEN, ASST.
        EMPLOYEE RESPONDING                                     WARDEN, OR SECRETARY'S
                                                                    REPRESENTATIVE
               Case 3:22-cv-01349-BJD-LLL  Document   29-1   Filed 05/02/23 Page 2 of 2 PageID 240
                                            .
                                       FLORIDA DEPARTMENT OF CORRECTIONS
                                                    REQUEST FOR ADMINISTRATIVE REMEDY OR APPEAL
                                                                                                                                        RECEIVED
       0       Third Party Grievance Alleging Sexual AbusV
                                                                                                                                           DEC 2 6 2018
TO:     0Warden        O Assistant Warden           rn/secretary, Florida Dep                                                            of Corrections
                                                                                                                                        epa
From or IF Alleging Sexual Abuse, on the behalf of:                                                                                 I    -•
               CbrJ-tnul Gern;Jcd                            D.                       /jt)J4(e
                Last           First             Middle Initial                          DC Number

                                                                      Part A- Inmate Grievance




      i? /12 /J[
           '               DATE


  •ay SIGNATURE, INMATE AGREES TO THE FOUOWING # OF JO.DAY EXT'ENSIONS:                                                                          /
                                                                                                                                           #
                                                                                                                                                     --------
                                                                                                                                                       Signature

                                                                                   INSTRUcrtONS
Tlds form ls used for filing a formal srtevance at the institution or fadllty level as well as for fifing appeals to the Office of the Seaetarv In accordance wtth Rule 33-103.006,
Florida Administrative Code. When an appeal ls made to the seuetary, a copy of the Initial response to the srlevance must be attached (except as stated below).

 When the Inmate feels that he may be adversely affected by the submlsslon of a srtevance at the lnstltutlonal level because of the nature of the grievance, or Is entitled by
 Qtapter 33-103 to file a direct grievance he may address hls grtevance directly to the Secretary's Office. The 1rtevance may be sealed In the envelope by the Inmate and
 piocessed postage free through routine Institutional channels. The Inmate must Indicate a valid reason Im not lnltlally bringing his grievance to the attention of the
 Institution. If the Inmate does not provide a valld reason or If the secretary or his desl&flated representative determines that the reason supplied Is not adequate, the
 grievance.will be returned to the Inmate for processlns at the Institutional level pursuant to F.A.C. 33-103.007 (6)(d).




 S"bmlttedbythelnmateon:          \d-lcl ,·t
                                       \   tel
                                                               Receipt for Appea1s Being Forwanh:d to Central Office
                                                               lnstitutkJnal Malling Log#: _ _ _ _ _ __



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                                             INMATE(2 Copies)                                 INMATE
                                             INMATE'S Fll.E                                   INMATE'S FILE- INSTllUTIONJl'ACIUIY
                                             INSTllUTIONAL ORIEV ANCE FILE                    camtALOFPICE INMATE RU!
                                                                                              CFNl'RAL OFFICB ORIEVANCE FILE
   DCl-303 (Effective 11/13)                                           Incorporated by Reference ln Rule 33-103.006, F.A.C.
